         Case 3:20-cv-00177-BSM Document 5 Filed 10/20/20 Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF ARKANSAS
                          NORTHERN DIVISION

ANTONIO T. MCKINNEY                                                         PLAINTIFF
ADC #145899

v.                        CASE NO. 3:20-CV-00177-BSM

BOWATCHYIE                                                                DEFENDANT

                                     JUDGMENT

      Consistent with the order entered on August 14, 2020, this case is dismissed without

prejudice.

      IT IS SO ORDERED, this 20th day of October, 2020.



                                                 ________________________________
                                                 UNITED STATES DISTRICT JUDGE
